Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 1 of 107 PageID #:700




                  EXHIBIT 7
 Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 2 of 107 PageID #:701




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

NATIONAL ASSOCIATION FOR GUN
RIGHTS, and SUSAN KAREN GOLDMAN,                No. 1:22-cv-04774
                  Plaintiffs,
                                                Honorable Harry D. Leinenweber
     v.
CITY OF HIGHLAND PARK, ILLINOIS,                Honorable Jeffrey T. Gilbert
                  Defendant.




                DECLARATION OF DR. MARTIN A. SCHREIBER,
                     MD, FACS, FCCM, COL, MC, USAR
  Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 3 of 107 PageID #:702




                     DECLARATION OF DR. MARTIN A. SCHREIBER

       I, Dr. Martin A. Schreiber, MD, FACS, FCCM, COL, MC, USAR, declare under

penalty of perjury that the following is true and correct:

       1.      This declaration is based on my personal knowledge and experience, and if I am

called as a witness, I could and would testify competently to the truth of the matters discussed in

this declaration.

       2.      I hold my opinions to a reasonable degree of medical and scientific certainty,

based on my education, training, research and clinical experience, as well as my knowledge of

relevant medical literature and the application of scientific principles to wounding ballistics.

       3.      Also relevant to the formation of my opinions is my knowledge of accepted

standards of medical practice as they apply to emergency medicine.

       4.      I further base my opinions on my experience as a trauma surgeon both for military

and civilian patients and as a soldier who has received weapons training and is required to carry

weapons on deployment, which I discuss in more detail below. My curriculum vitae, which is

attached as Exhibit A, documents my educational and professional experience in detail.

       5.      I am being compensated at a rate of $250/hour.

       6.      During the past four years, I have participated as an expert witness in 30 cases,

the vast majority of which were malpractice cases involving trauma and emergency general

surgery patients. I have attached a list of cases for which I have provided expert testimony in the

last four years as Exhibit B.

       7.      Prior to forming my opinions, I reviewed the complaint filed in this case, National

Association for Gun Rights v. City of Highland Park, Illinois, Case No. 1:22-cv-04774 (N.D.

Ill.), and the Highland Park ordinance challenged in this lawsuit, Highland Park Ord. No. 68-13.



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  Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 4 of 107 PageID #:703




                           BACKGROUND AND QUALIFICATIONS

       8.      I am board-certified in general surgery and surgical critical care and a Colonel in

the United States Army Reserve. I have been a soldier for nearly 40 years. I joined the United

States Army Reserves in 1984, completing my Army Officer Basic Training Course at the Silas

B. Hays Army Hospital in 1985.

       9.      I have been a surgeon in a number of military settings, including Chief of Surgery

for the 31st Combat Support Hospital and a general surgeon and Medical Director of the Surgical

Intensive Care Unit at William Beaumont Army Medical Center.

       10.     When the United States went to war in Afghanistan and Iraq, I volunteered for

active duty and deployment. I was deployed three times, serving in Iraq in 2005 and Afghanistan

in 2010 and 2014.

       11.     During my deployment to Iraq, I was the Chief of Surgery for the 228th Combat

Support Hospital in Tikrit, Iraq.

       12.     During my deployments to Afghanistan, I was Director of the Joint Theater

Trauma System, United States Central Command in Bagram, Afghanistan, and a surgeon with

the 932nd Forward Surgical Team in Shank, Afghanistan.

       13.     While deployed, I have cared for countless casualties (in the hundreds), including

casualties to U.S. service men and women, soldiers of our allies, residents of host nations, and

soldiers of our enemies.

       14.     As a soldier, I have been required to qualify with a 9mm Baretta handgun on a

targeted shooting range on numerous occasions. I have also qualified with the M-16 assault rifle,

which bears a close resemblance to an AR-15, on a targeted shooting range. I have also fired an




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  Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 5 of 107 PageID #:704




M2 50-caliber machine gun on training exercises at Shank, Afghanistan with a special forces unit

while on deployment in 2014.

        15.     I am also the Chief of the Division of Trauma, Critical Care & Acute Care

Surgery and Professor of Surgery at Oregon Health & Science University (“OHSU”) as well as

the trauma medical director. OHSU has the only academic Level 1 trauma center in Oregon. It is

internationally recognized in trauma research, named among the nation’s best programs by the

American College of Surgeons. OHSU cares for approximately 4,000 trauma patients per year,

approximately 8% of whom suffer penetrating injuries. 163 patients injured by gunshot wounds

were treated at OHSU last year alone.

        16.     As a trauma surgeon at OHSU, I am personally involved in the care of trauma

patients, including those who have suffered from gunshot wounds, throughout their in-hospital

care and recovery. I am present at their arrival and accompany them to the intensive care unit or

operating room as appropriate. I also care for trauma patients on the ward and in clinic, and in

their late care as needed.

        17.     I received my Bachelor of Arts in Chemistry from the University of Chicago in

1984 and my Medical Degree from Case Western Reserve University in 1988. I completed a

surgical internship at the Madigan Army Medical Center in Fort Lewis, Washington and a

surgical residency at the University of Washington Seattle in Seattle, Washington. I completed a

fellowship in Trauma and Critical Care at the University of Washington Seattle, as well. I am a

Fellow in the American College of Surgeons and a Fellow of Critical Care Medicine.

        18.     In light of the fact that I have cared for hundreds of patients injured by handguns

and assault rifles, I am very familiar with how wounds from these weapons differ and their

relative killing capacity.



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     Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 6 of 107 PageID #:705




                                            OPINIONS

I.       The Killing Potential Of Assault Weapons.

         19.   During each of my three deployments, I was deployed as a surgeon with the

United States Army. For deployment, the Army required me to qualify on a targeted shooting

range and carry a 9mm Baretta essentially at all times for self-defense. While I received training

on other weapons, such as an M-16, my Army-issued weapon was a handgun because I was a

surgeon and needed a weapon for self-defense. The deployed warfighter, by contrast, carried, at a

minimum, an M-4 assault weapon, with the capacity to kill numerous enemy combatants rapidly,

because the warfighter’s job, unlike the surgeon’s, is to kill the enemy. The U.S. military’s

judgment that handguns, not assault rifles, are the right weapon for self-defense, while assault

rifles, not handguns, are the right weapon for killing enemy combatants speaks volumes.

         20.   The killing capacity of a weapon is primarily determined by the kinetic energy

imparted by the bullet, its effective range, and the rate at which the weapon fires projectiles.

Kinetic energy is determined by the following equation: 1

                                         1
                                    ‫=ܧ‬     ݉ܽ‫ ݕݐ݅ܿ݋݈݁ݒ ݔ ݏݏ‬ଶ
                                         2

         21.   The muzzle velocity of an AR-15 is approximately 3200 feet per second 2

compared to 1200 feet per second for a 9mm Baretta.3



1
 Stefanopoulos PK, Mikros G, Pinialidis DE, et al. Wound Ballistics of Military Rifle Bullets:
An Update on Controversial Issues and Associated Misconceptions. Journal of Trauma and
Acute Care Surgery. 2019;87:696.
2
 “ArmaLite/Colt AR-15,” Military Factory (May 22, 2018),
https://www.militaryfactory.com/smallarms/detail.php?smallarms_id=383.
3
 “M9 9mm Beretta Pistol,” FAS Military Analysis Network (Jan. 20, 1999),
https://man.fas.org/dod-101/sys/land/m9.htm.

                                                  4
    Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 7 of 107 PageID #:706




          22.    The kinetic energy of a 9mm Baretta is estimated to be approximately 400 foot

pounds 4 compared to 1303 foot pounds for an AR-15. 5

          23.    When a projectile fired from a firearm penetrates the human body, it creates a

temporary and, eventually, permanent cavity. Holding all else equal, the larger the cavity, the

more severe the injury.

          24.    The large kinetic energy and force produced from an AR-15-style weapon means

that a round fired by such a weapon typically creates a relatively large temporary cavity in a

human body, with devastating effects to tissue and surrounding organs. 6

          25.    Assault weapons, especially when equipped with large-capacity magazines, can

also fire more shots faster than other types of weapons, causing more victims and injuries per

event. Assault weapons can fire hundreds of rounds per minute in automatic mode. Even in semi-

automatic mode, the self-loading feature of the weapon allows it to fire dozens of shots per

minute. For example, unlike a bolt-action hunting rifle, which requires the shooter to pull the bolt

back before firing each round, an assault weapon allows the shooter to fire each round without

manually cycling the weapon. When combined with a large-capacity magazine, an assault

weapon can fire more rounds per minute than a handgun, shotgun, or hunting rifle.

          26.    Assault weapons are also highly accurate at great distances. The effective range of

an AR-15 is approximately 400–500 yards compared to up to 50 yards for a typical handgun.




4
 A foot pound is a unit of energy equal to the amount required to raise one pound a distance of
one foot.
5
 Rhee PM, Moore EE, Joseph B, et al. Gunshot Wounds: A Review of Ballistics, Bullets,
Weapons and Myths. Journal of Trauma and Acute Care Surgery. 2016;80:856.
6
    See Stefanopoulos PK et al., supra, n.1 at 692.

                                                      5
    Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 8 of 107 PageID #:707




I have personally witnessed a soldier instantly killed by an assault weapon fired from hundreds

of yards away by a single bullet that penetrated his mouth and spinal cord.

           27.   Assault weapons also tend to be lightweight and highly maneuverable, and have

low recoil, which allows people intent on inflicting mass casualties to move around easily before,

during, and after shooting the weapon. In addition, due to their low recoil, assault weapons allow

the shooter to continue firing without having to re-sight (i.e., re-aim) the weapon at the target.

Rather, the shooter is able to keep the assault weapon still and produce a consistently straight line

of fire.

           28.   The combination of high kinetic energy, the ability to fire rounds rapidly, deadly

accuracy at great distance, a high degree of maneuverability, and low recoil results in maximum

killing potential.

           29.   This is exemplified by the 2017 Las Vegas shooting, during which a single

individual was able to fire hundreds of rounds each minute for 10 minutes, killing 58 people and

wounding over 800 from a 32nd floor suite at a local hotel firing into a crowd at an open-air

concert at a distance of more than 1,000 feet. 7 The weapons utilized were primarily assault

weapons utilizing bump stocks allowing them to fire at a rate similar to automatic weapons. 8

This was the most lethal mass shooting in U.S. history. Many of the doctors, including multiple

military surgeons, described the injuries as “injuries you would see in a war zone.” 9


7
 Federal Emergency Management Agency. 1 October After-Action Report of August 24, 2018
events; Thomas L. Las Vegas Shooting: Answering 4 Common Questions. The Spectrum.
October 5, 2017.
8
 Alex Horton. The Las Vegas Shooter Modified a Dozen Rifles to Shoot Like Automatic
Weapons, The Washington Post (Oct. 3, 2017),
https://www.washingtonpost.com/news/checkpoint/wp/2017/10/02/video-from-las-vegas-
suggests-automatic-gunfire-heres-what-makes-machine-guns-different/.
9
    Tim Craig, ‘Something we would see in a war zone’: Military surgeons on the wounds they
                                                  6
     Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 9 of 107 PageID #:708




         30.   While Las Vegas was especially lethal, there are numerous other mass shootings

that have had devastating effects on communities in mere seconds. For example, in Highland

Park, Illinois, a single mass shooter armed with a Smith & Wesson M&P15, climbed on a roof

and killed seven people and injured another 48 with 83 shots fired in only a very short period of

time. 10 Doctors who were on the scene to enjoy the parade with their families, ran toward the

victims, encountering a scene that looked like a “war zone.” For example, according to press

reports and interviews, a local doctor, who provided assistance to some of the victims,

commented that he saw those killed with “horrific injuries,” the kind that “happen when bullets

can blow bodies up.” 11 He also saw a horrific traumatic head injury, performed CPR on a young

child who was severely injured, and described the injuries he encountered as those that one

would see in war. 12 Doctors, including a trauma surgeon, and nurses at the Highland Park




treated in Las Vegas, The Washington Post (Oct. 5, 2017),
https://www.washingtonpost.com/news/post-nation/wp/2017/10/05/something-we-would-see-in-
a-war-zone-military-surgeons-on-the-wounds-they-treated-in-las-vegas/.
10
  Dakin Andone, Steve Almasy, & Curt Devine, What we know about the Highland Park
shooting suspect, CNN (July 7, 2022), https://www.cnn.com/2022/07/05/us/robert-e-crimo-
highland-park-suspect/index.html; see also The Highland Park shooting suspect is indicted on
117 charges, NPR (July 28, 2022) https://www.npr.org/2022/07/28/1114207587/the-highland-
park-shooting-suspect-is-indicted-on-117-charges.
11
  Phil Rogers, ‘Bodies were down’: Witness breaks down scene of mass shooting at Illinois
Fourth of July parade, NBC News (July 4, 2022) https://www.nbcnews.com/video/illinois-
doctor-recalls-moments-he-saw-bodies-down-at-fourth-of-july-parade-shooting-143393349888;
see also Jason Hanna, ‘Those are wartime injuries’: Doctor describes the horrific scene at the
Highland Park shooting, CNN (July 5, 2022), https://www.cnn.com/2022/07/05/us/illinois-
highland-park-shooting-doctor/index.html.
12
   Id.; see also Brett Chase, At Highland Park Parade Mass Shooting, Doctors Went From
Watching to Treating the Wounded, Chicago Sun Times (July 8, 2022),
https://chicago.suntimes.com/2022/7/8/23196922/highland-park-parade-mass-shooting-fourth-
july-doctors-loren-schechter-dave-baum.

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 Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 10 of 107 PageID #:709




Hospital, where victims arrived in the emergency room after the shooting, likewise described the

wounds they saw on the patients they treated as “war wounds” and “devastating.” 13

II.      Treating Wounds From Assault Rifles.

         31.   The descriptions of the injuries observed during the Las Vegas and Highland Park

shootings are consistent with my own experience treating wounds caused by assault weapons.

         32.   As a trauma surgeon in both the civilian and military context, I have personally

treated hundreds of patients suffering from handgun wounds and assault weapon wounds.

         33.   The assault weapon wounds that I have seen in a civilian context are virtually

identical in nature to the wounds that I saw in combat. These wounds differ substantially from

those caused by other firearms, notably handguns, both in impact on the body and their relative

fatality and complication rates.

         34.   In my experience, assault weapon blasts to the head, neck, or trunk are usually

lethal, especially in the absence of personal protective equipment like a Kevlar helmet and body

armor.

         35.   Assault weapon blasts to the abdomen tend to cause greater damage to the

muscles, bones, soft tissue, and vital organs than handguns. Inside a human body, one assault

weapon round can destroy organs in a way that looks like an explosion has happened. Bones may

also be shattered and soft tissue shredded. For example, during my time in Afghanistan I treated

civilians that were injured when terrorists fired assault weapons at them while waiting in line to


13
   Czink & Bair, ‘They Just Kept Coming’: Highland Park Medical Staff Recalls Parade
Shooting, WGN TV (July 12, 2022), https://wgntv.com/news/highland-park-parade-
shooting/they-just-kept-coming-highland-park-medical-staff-recalls-parade-shooting/; see also
Lisa Schencker, Highland Park Hospital Doesn’t See Many Victims of Gun Violence. Then July
Fourth Happened. Here’s How the Day Unfolded, Chicago Tribune (Aug. 14, 2022),
https://www.chicagotribune.com/business/ct-biz-highland-park-hospital-july-4-shooting-
20220814-3pclhoiv3zcp7itrd2riy6g6wq-story.html.

                                                 8
 Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 11 of 107 PageID #:710




vote. One civilian had their entire upper left quadrant exploded with a single bullet, destroying

the pancreas, spleen, and kidney and necessitating partial removal of the pancreas, and the entire

spleen and kidney.

        36.     Not only do patients with assault weapon injuries frequently have multiple organs

injured, they also often have major blood vessels or arteries severely damaged. They frequently

require massive blood transfusions due to tremendous blood loss, and they often require a series

of operations instead of just one, unlike with handguns. When they do survive, they typically

require prolonged hospitalizations and follow-up, face higher complication rates, and suffer

much greater disability, which frequently persists for the rest of their shortened lives.

        37.     Assault weapon blasts to the extremities frequently result in amputations.

        38.     Due to lower kinetic energy, handgun injuries produce much less harm to the

human body and are generally survivable unless the bullet penetrates a critical organ or major

blood vessel. Most lethal injuries from handguns occur from very short distances and in the

civilian setting are suicidal in nature.

        39.     Additionally, a handgun wound is much more likely to affect only one organ as

compared to multiple organs, unlike with wounds caused by assault weapons.

        40.     In my experience, many patients with handgun injuries have minor injuries that

do not require any surgery, and they are discharged from the emergency department. Patients

with handgun injuries who require operative therapy have a very high survival rate.

        41.     Assault weapons are designed for the purpose of maximum killing in wartime

settings. They are deadly accurate weapons with enormous destructive capacity and can be fired

at a rate of hundreds of rounds per minute. The mass casualties produced by assault weapons




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 Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 12 of 107 PageID #:711




frequently exceed the capacity of civilian trauma systems and trauma surgeons to treat and have

a very high mortality rate, as in the case of the Las Vegas shooting.




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 Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 13 of 107 PageID #:712




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the foregoing is true and correct.



       Executed on January 18, 2023 at Orlando, Florida.




                                                     /s//




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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 14 of 107 PageID #:713




                       EXHIBIT A
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 15 of 107 PageID #:714




                            CURRICULUM VITAE
                     MARTIN A. SCHREIBER, MD FACS FCCM
                               UPDATED 01/04/22


 Personal Information

       Home Address:                                11 Garibaldi Street
                                                    Lake Oswego, OR 97035
       Business Phone:                              (503) 494-6518
       Business Fax:                                (503) 494-6519
       Business Address:                            Trauma, Critical Care and Acute
                                                    Care Surgery Division
                                                    Oregon Health & Science University
                                                    3181 SW Sam Jackson Park Road
                                                    Mail Code L611
                                                    Portland, OR 97239
       Birthdate:                                   4/24/62
       Birthplace:                                  Cleveland, OH

 EDUCATION

       University of Chicago - Chicago, Illinois 1980-1984
       Bachelor of Arts - Chemistry

       Case Western Reserve University - Cleveland, OH 1984-1988
       Medical Degree

 RESIDENCY TRAINING

        Surgical Internship - Madigan Army Medical Center Fort Lewis, WA 1988-1989
        Surgical Residency - University of Washington Seattle, WA 1989 - 1993
        Chief Residency - University of Washington Seattle, WA 1993 - 1994

 FELLOWSHIPS

        Trauma and Critical Care - University of Washington Seattle, WA 1994- 1995

 BOARD CERTIFICATION

     Federal Licensure Examination - 1989
     Qualifying Examination of the American Board of Surgery - 10/94
     Certifying Examination of the American Board of Surgery - 6/95
      Examination for Certification of Added Qualifications in Surgical Critical Care -
      10/96
 APPOINTMENTS

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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 16 of 107 PageID #:715




        Acting Instructor - Dept of Surgery, University of Washington, 7/94-6/95
        Assistant Professor of Surgery - Texas Tech University Health Science
        Center, 3/96-10/99
        Clinical Assistant Professor of Surgery - Uniformed Services University of the
        Health Sciences, 2/96-Present
        Assistant Professor of Surgery – Baylor College of Medicine, 10/99-11/01
        Professor of Surgery – Oregon Health & Science University, 7/08-Present
        Major United States Army Reserve 2004 – 2007
        Lieutenant Colonel United States Army Reserve 2007- 2012
        Colonel United States Army Reserve 2012 – Present
        Professor Physiology and Pharmacology – Oregon Health & Science University,
        2014 – Present
        Senior Scientist in the OHSU Center for Regenerative Medicine under the Senior
        Vice President for Research, 2014 – Present
        Adjunct Professor of Surgery, Uniformed Services of the Health Sciences, 2021 -
        Present

 LICENSURE

        To Practice Medicine in the State of Oregon – MD23540

 MILITARY TRAINING

        Army Officer Basic Course - Silas B. Hays Army Hospital Fort Ord, California
        1985
        US ARMY Airborne Course - Fort Benning, GA 1986
        ATLS - Fort Sam Houston, TX 1989
        ATLS Instructor - Fort Carson, CO 1996
        ATLS Director - Fort Sam Houston, TX 1997
        ATLS State Faculty – WBAMC 1999
        Armed Forces Combat Casualty Care Course - Fort Sam Houston, TX 1989
        Instructor Bushmaster Course - Camp Bullis, TX 1996
        Combat Trauma Surgical Team - Ben Taub General Hospital September 1998
        Commander Combat Trauma Surgical Team – Ben Taub General Hospital
        February 1999
        Director Army Military Civilian Trauma Team Training Program (AMCT3)–
        Oregon Health & Science University 2018 - Present

 PROFESSIONAL SOCIETY MEMBERSHIPS

        Alpha Omega Alpha Honor Society
        American College of Surgeons - Fellow
        Washington State Chapter of the American College of Surgeons 1994-1995
        The Henry N. Harkins Surgical Society
        Associate Member of the American College of Surgeons Washington

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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 17 of 107 PageID #:716




        Committee on Trauma 1994-1995
        Member of Harborview Medical Center Trauma Council 1994-1995
        Eastern Association for the Surgery of Trauma
        American Association for the Surgery of Trauma
        American Trauma Society
        Association for Academic Surgery – Active Member
        Society of Critical Care Medicine
        The Shock Society
        Oregon State Chapter of the American College of Surgeons
        President – Oregon Chapter of the Society of Critical Care Medicine 2003 – 2004
        Western Trauma Association
        Society of University Surgeons
        Secretary - Treasurer Portland Surgical Society 2004 - 2008
        Pacific Coast Surgical Association
        North Pacific Surgical Association
        President - Portland Surgical Society 2008 – 2009
        Society of Clinical Surgeons
        American Surgical Association
        Western Surgical Association
        International Surgical Society
        International Association for Trauma Surgery and Critical Care


 COMMITTEE MEMBERSHIPS

        Special Care Line Action Team - William Beaumont Army Medical Center 1995-
        1999
        Chief, Trauma Committee – William Beaumont Army Medical Center 1997-
        1999
        Human Use Subcommittee - William Beaumont Army Medical Center 1995-
        1999
        Institutional Animal Care and Use Committee – William Beaumont Army
        Medical Center 1995-1999
        Breast Cancer Prevention and Detection Action Team, Military Region VII 1995-
        1996
        Trauma Research Program - William Beaumont Army Medical Center 1996-
        1999
        Far West Texas and Southern New Mexico Regional Area Council on Trauma
        1996-1999
        Chairman Hospital Audit Committee of the Far West Texas and Southern New
        Mexico Regional Area Council on Trauma 1997-1999
        Executive Board of the Far West Texas and Southern New Mexico Regional Area
        Council on Trauma 1997-1999
        Research Committee - R. E. Thomason General Hospital 1997-1999
        Military Combat Trauma Surgical Committee 1997-1999
        Publication Committee for Gary P. Wratten Surgical Symposium 1999

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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 18 of 107 PageID #:717




        Chairman, Trauma Morbidity and Mortality Committee Ben Taub General
        Hospital 1999 – 2001
        Trauma Executive Committee Ben Taub General Hospital 1999 – 2001
        Pharmacy and Therapeutic Committee Harris County Hospital District 1999 –
        2001
        Southeast Texas Regional Advisory Committee 1999 – 2001
        Process Improvement Subcommittee of the Southeast Texas Trauma Regional
        Advisory Committee 1999 – 2001
        Chairman of the Grants Committee of the Southeast Texas Trauma Regional
        Advisory Committee 2000 – 2001
        Trauma Center Grant Steering Committee – Baylor College of Medicine 2000 –
        2001
        Baylor College of Medicine’s Graduate Medical Education Committee 2000 –
        2001
        American College of Surgeons South Texas Committee on Trauma 2001
        Member of the Policy on House Staff Review Subcommittee of the Baylor
        College of Graduate Medical Education Committee 2001
        Residency Internal Review Subcommittee of the Baylor College of Medicine’s
        Graduate Medical Education Committee 2001
        Eastern Association for the Surgery of Trauma Practice Guideline Committee on
        Endpoints of Resuscitation 2001 – 2003
        Trauma Committee – Oregon Health & Science University 2002 – Present
        Trauma Peer Review Subcommittee - Oregon Health & Science University 2002
        – Present
        Department of Surgery Peer Review Committee – Oregon Health & Science
        University 2002 - Present
        Eastern Association for the Surgery of Trauma Practice Guideline Committee on
        Hypothermia 2002 – 2004
        Oregon Committee on Trauma 2002 – Present
        Restraint and Seclusion Committee – Oregon Health & Science University 2002
        – 2004
        ICU Executive Management Committee – Oregon Health & Science University
        2002 – 2014
        Radiology Task Force Committee – Oregon Health & Science University 2003
        Faculty Senate – Oregon Health & Science University 2003 - 2006
        Data Safety Monitoring Board - Dr. Eileen Bulger, The Effect of Hypertonic
        Resuscitation for Blunt Trauma. IND Number: 10292 2003 - 2005
        Area Trauma Advisory Board One in Oregon 2003 - 2005
        Oregon State Trauma Advisory Board 2004 – Present
        Research Committee – Oregon Health & Science University 2004 – Present
        Sedation Oversight Committee - Oregon Health & Science University 2005 –
        2007
        Eastern Association for the Surgery of Trauma Publications Committee 2005 –
        2007
        Publications Committee - Western Trauma Association 2005 - 2007



                                          4
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 19 of 107 PageID #:718




        Steering Committee for the U.S. Army Institute of Surgical Research Clinical
        Trials Program, U.S. Army Medical Research and Materiel Command, Fort
        Detrick, Maryland 2005 - Present
        Eastern Association for the Surgery of Trauma Taskforce on Research Related
        Issues 2006 –2010
        State Chair for the Oregon Committee on Trauma 2006 – 2012
        American College of Surgeons Committee on Trauma 2006 – 2018
        Transfusion Committee – Oregon Health & Science University 2006 – 2008
        American College of Surgeons Subcommittee on ATLS 2006 – Present
        Clinical Resource Management Committee – Oregon Health & Science
        University 2010 - Present
        American College of Surgeons Ad Hoc Committee on Trauma System Evaluation
        and Planning 2006 – Present
        8CSI Best Practice Committee – Oregon Health & Science University 2006 –
        2009
        Oregon State Trauma Advisory Board Legislative Subcommittee 2006 - Present
        Trauma Audit Group, Area Trauma Advisory Board 1 2006 – Present
        Dean’s Pathology Advisory Group – Oregon Health & Science University 2007
        Eastern Association for the Surgery of Trauma Military Committee 2007 –
        Present
        Chairman of the Eastern Association for the Surgery of Trauma Task Force on
        Research Related Issues 2008 – 2011
        American Association for the Surgery of Trauma Acute Care Surgery Committee
        2009 – Present
        Western Trauma Association Program Committee 2009 – 2010
        OHSU Department of Surgery Promotion and Tenure Committee 2009 – Present
        Department of Surgery Quality Executive Committee 2008 – Present
        Eastern Association of Trauma Practice Management Guidelines Committee
        2010 – 2011
        Promotion and Tenure Committee, Department of Surgery – Oregon Health &
        Science University 2010 – Present
        Clinical Resource Management Committee – Oregon Health & Science
        University 2010 - Present
        Eastern Association for the Surgery of Trauma – Nominations Committee 2011
        Chairman of the ICU Management Committee – Oregon Health & Science
        University 2011 – 2013
        American Association for the Surgery of Trauma Ad Hoc Educational
        Development/MOC Committee 2011 – 2013
        Chief, Region X Committee on Trauma 2012 – Present
        Western Trauma Association Board of Directors 2013 - 2016
        Trauma Center Association of America Board of Directors 2013 – Present
        Oregon District #1 Committee on Applicants of the American College of
        Surgeons 2014 – Present
        Board of Governors of the American College of Surgeons 2014 – 2020
        Shock Society – Publications Committee, 2015 – Present



                                          5
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 20 of 107 PageID #:719




        Patient Blood Management Standards Committee, American Association of
        Blood Banks, 2016 – 2019
        Committee on Surgical Combat Casualty Care, 2016 – Present
        Vice-Chair Grassroots Advocacy Engagement Workgroup, American College of
        Surgeons, Board of Governors, 2016 – 2017
        Chair Grassroots Advocacy Engagement Workgroup, American College of
        Surgeons, Board of Governors, 2017 – 2019
        Chairman Military-Civilian Subcommittee, Trauma Center Association of
        America, 2017 – 2019
        Chairman Advocacy Committee, Board of Governors, American College of
        Surgeons, 2019 - 2020
        Member Blood Product Advisory Council, FDA, 2018 – Present
        Member Tactical Combat Casualty Care Subject Matter Expert Panel, 2018 –
        Present
        Chairman, Research Committee, Committee on Surgical Combat Casualty Care
        2019 - Present
        Chairman Trauma Center Association of America, 2020 – 2022
        Chairman Donald D. Trunkey Center for Civilian and Combat Casualty Care
        Executive Committee, 2020 – Present
        Committee on Accelerating Progress in TBI Research and Care, National
        Academy of Science, Engineering and Medicine, 2020 – 2021
        Clotting Anticoagulation Transfusion Committee, OHSU, 2022 – Current


 POSITIONS HELD

        Chief, Dept of Surgery, Joint Task Force – Bravo Honduras, C.A. 1997
        Chief of Surgery 31st Combat Support Hospital 1998 - 1999
        General Surgery Staff- William Beaumont Army Medical Center, Medical
        Director of the Surgical Intensive Care Unit and Chief of Trauma William
        Beaumont Army Medical Center 1995-1999
        General Surgery Staff – Ben Taub General Hospital 1999 - 2001
        Trauma Medical Director, Ben Taub General Hospital 1999 – 2001
        General Surgery Staff – Oregon Health & Science University 2002 - 2003
        Director of Surgical Critical Care, Oregon Health & Science University 2002 –
        2007
        Program Director of the Surgical Critical Care Fellowship, Oregon Health &
        Science University 2003 - 2010
        Surgeon - International Medical Surgical Team West 2004 - Present
        Chief of Trauma, 228th Combat Support Hospital – Tikrit, Iraq 2005
        Chief of Trauma and Surgical Critical Care, Oregon Health & Science University
        2007 – 2009
        Chief and Founder Division of Trauma, Critical Care and Acute Care Surgery,
        Oregon Health & Science University 2009 – Present
        Director of Adult ICUs, Oregon Health & Science University 2010 – 2014



                                           6
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 21 of 107 PageID #:720




        Director of the Joint Theater Trauma System, United States Central Command in
        Iraq and Afghanistan stationed in Bagram, Afghansitan 2010
        Surgeon, 932nd Forward Surgical Team, Shank, Afghanistan 2014
        Director Donald D. Trunkey Center for Civilian and Combat Casualty Care 2020
        – Present
        Chair, Division Chief search for Transplant Surgery at OHSU 2022

 HONORS AND AWARDS

        High School - National Honor Society
        Undergraduate - Dean’s List 1980 - 1984
        Graduated from University of Chicago With Honors 1984
        Effects of IL - 2 and IFN on Hepatic Metastases - American Cancer Society
        Student Fellowship 1988
        Lubrizol Award for Excellence in Patient Care - Case Western 1988
        Henry N. Harkins Award for Excellence in Preparation of the Annual Residents’
        Paper - Washington State Chapter of the ACS 1989
        Bulldog Award - Children’s Hospital 1992
        Joint Service Commendation Award - Honduras 1997
        Army Achievement Medal - For being WBAMC's Project Officer for the Ben
        Taub Combat Trauma Surgical Training Program 1999
        Army Achievement Medal - Quality Improvement Award 1999
        Army Achievement Medal - For Patient Care 1999
        Meritorious Service Medal – For Establishing a Verified and Designated Level 2
        Trauma Center at William Beaumont Army Medical Center 1999
        National Leadership Award – Honorary Co-Chairman of The Physician’s
        Advisory Board 2001
        Army Commendation Medal – For Service as Chief of Trauma of the 228th CSH
        Tikrit, Iraq 2005
        Iraqi Campaign Medal – For Service in Operation Iraqi Freedom 2005
        Army Reserve Medal with M device – For 10 years of service in the Army
        Reserves with Mobilization to Iraq 2005
        American Association for the Surgery of Trauma Honorary Medal for Combat
        Surgical Care 2005
        Meritorious Unit Commendation Award – For Meritorious Service of the 228th
        Combat Support Hospital During Operation Iraqi Freedom III 2006
        Oregon Health & Science University Faculty Senate Certificate of Appreciation,
        In recognition of vision, leadership and support of the faculty 2006
        Veterans of Oregon Honorable Service Medal 2006
        Distinguished Faculty Award – Oregon Health & Science University Dept of
        Surgery 2007
        World Journal of Surgery Best Paper of 2007 – Coagulopathy: Its
        Pathophysiology and Treatment in the Injured Patient
        Portland Monthly Magazine Top Doctors 2010, 2012, 2013
        Non-Article 5 NATO Medal for Service with NATO in Relation to International
        Security Afghanistan Forces August 2010

                                           7
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 22 of 107 PageID #:721




        Afghanistan Campaign Medal in Recognition of Service in the Country of
        Afghanistan in Direct Support of Operation Enduring Freedom August 2010
        Global War on Terrorism Service Medal-For support of the Global War on
        Terrorism August 2010
        Joint Service Commendation Medal-For Meritorious Service Rendered During
        Operation Enduring Freedom August 2010
        Certificate of Achievement-Task Force 62 Medical-For Outstanding Performance
        while Serving as Director, Joint Theater Trauma System, United States Central
        Command in Iraq and Afghanistan August 2010
        The “A” Proficiency Designator in recognition of outstanding qualification in the
        field of General Surgery and continued demonstration of exceptional professional
        ability June 2011
        Marquam Hill Faculty Teaching Award – Oregon Health & Science University,
        Department of Surgery 2011
        Professional Staff Chair’s Award for Outstanding Contributions to Development of
        Interdisciplinary Teams – Oregon Health & Science University 2011
        Inducted into The Order of Military Medical Merit for Distinguished Military
        Service September 2012
        Army Achievement Medal for meritorious service while serving as a Burn
        Surgeon at the US Army Institute of Surgical Research 2013
        Army Commendation Medal for exceptionally meritorious service as a General
        Surgeon while deployed in support of Operation Enduring Freedom June 2014
        Afghanistan Campaign Medal in Recognition of Service in the Country of
        Afghanistan in Direct Support of Operation Enduring Freedom June 2014
        Technology Transfer & Business Development Award for Oregon Procedure
        Quality Reporting System (OPQRS) and Healthcare Team Learning Management
        Platform October 2015
        Asmund S. Laerdal Memorial Lecture Award for Extensive Involvement in
        Resuscitation Research and Publishing. Society of Critical Care Medicine
        February 2016
        Journal of Trauma – Outstanding Reviewer Award, 2016
        Marquam Hill Distinguished Service Award – Oregon Health & Science
        University Dept of Surgery 2017
        2018 Lifetime Achievement Award in Trauma Resuscitation Science – American
        Heart Association
        Meritorious Service Medal for Creating the Army Military Civilian Trauma
        Training Team at OHSU 2019
        OHSU Continuing Professional Development Clinical Star Award 2018 – 2019,
        Awarded 2020
        Robert Danis Prize – Given to the surgeon, author of the most important and
        personal work in connection with surgical treatment of fractures (orthopedic
        treatment excluded) and in connection with techniques, clinics or experimentation
        of fracture treatment and with the pathophysiology of trauma in general 2022

 EDITORIAL BOARD MEMBERSHIPS

        Journal of Trauma and Acute Care Surgery

                                              8
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 23 of 107 PageID #:722




        Shock
        Current Trauma Reports – 2017 – 2019
        PLOS Medicine

 AD HOC REVIEWER FOR JOURNALS

        Critical Care Medicine
        Pediatric Blood and Cancer
        World Journal of Surgery
        Anesthesiology
        Journal of the American College of Surgeons
        Journal of Thrombosis and Hemostasis
        New England Journal of Medicine
        Resuscitation
        Critical Care
        Annals of Surgery
        American Journal of Surgery
        Transfusion
        Injury
        Plos One

 INSTRUCTOR COURSES

        Advanced Trauma Life Support – National Faculty
        Definitive Surgical Trauma Care Course – Course Director
        Stop the Bleed
        Fundamental Critical Care Support

 REVIEWER FOR GRANTS

        American Institute of Biological Sciences
        NIH Surgery, Anesthesia, Trauma Review Section, Special Member
        ZRG1 ETTN-U 82 S, Special Topics: USU Intramural High Priority Research
        Awards, National Institutes of Health, Bethesda, MD


 MEMBER DATA SAFETY MONITORING BOARD

        The Effect of Hypertonic Resuscitation for Blunt Trauma, Primary Investigator -
        Dr. Eileen Bulger, IND Number: 10292.

        Chair DSMB, Control of Major Bleeding after Trauma (COMBAT) Study: A
        Prospective Randomized Comparison of Fresh Frozen Plasma Versus Standard
        Crystalloid Intravenous Fluid for Initial Resuscitation. Primary Investigator – Dr.
        Eugene Moore.



                                             9
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 24 of 107 PageID #:723




 ONGOING RESEARCH SUPPORT

 US Army Medical Research Acquisition Activity W81XWH-14-2-0003 Gregory (PI)
 Armed Forces Institute for Regenerative Medicine (AFIRM) II Program
 The goal of this study is determine the efficacy of infused bone marrow derived stem
 cells on regeneration of muscle tissue in patients with compartment syndrome.
 Role on Project: Co-investigator (2014 – 2023)

 BA150560 US Army Medical Research Acquisition Activity
 Mesenchymal Stem Cells for the Prevention of Acute Respiratory Distress
 Syndrome after Pulmonary Contusion and Hemorrhagic Shock.
 The goal of this research is to determine if mesenchymal stem cells infused
 intravenously can prevent ARDS in a model of hemorrhagic shock and unilateral
 pulmonary contusion.
 Role on Project: Principal Investigator (2016 – 2023)

 DM160342 US Army Medical Research Acquisition Activity
 Prothrombin Complex Concentrate for Prolonged Field Care of War Casualties
 The purpose of this research is to determine of prothrombin complex concentrate can
 prevent ARDS in a swine model of hemorrhagic shock and pulmonary contusion.
 Role on Project: Principal Investigator (2017 – 2024)

 W81XWH-16-R-0033 Department of Defense, Joint Program Committee-6 Combat
 Casualty Care.
 Linking Investigations in Trauma and Emergency Services (LITES)
 The purpose of this research is to create a network of trauma centers to execute trauma
 research of interest to the Department of Defense.
 Role on Project: Co-Principal Investigator (2016 – 2023)

 RFA-NS-16-016 NIH
 Network for Emergency Care Clinical trials: Strategies to Innovate Emergency
 Care Clinical Trials Network (SIREN) – Network Clinical Center (HUB) (U24)
 This is a network of major medical centers designed to execute NIH funded trials in the
 areas of emergency medicine and trauma.
 Role on Project: Trauma Principal Investigator (2017 – 2023)

 W81XWH-17-1631 US Army Medical Research and Materiel Command
 Mesenchymal Stem Cells for Treatment of ARDS Following Trauma
 This is a multicenter randomized trials comparing mesenchymal stem cells to placebo for
 the treatment of ARDS in critical care patients.
 Role on Project: Site Principal Investigator (2017 – 2020)

 CSL Behring
 Prothrombin Complex for the Treatment of Prehospital Traumatic Hemorrhagic
 Shock

                                            10
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 25 of 107 PageID #:724




 This is an investigator initiated multicenter trial comparing prothrombin complex
 concentrate to placebo for the prehospital care of patients with traumatic hemorrhagic
 shock. Role on Project: Principal Investigator (2017 – 2021)

 COMPLETED RESEARCH SUPPORT

 US Army Medical Research and Materiel Command DAMD17-01-1-0693
 1999-2001
 The Effect of Recombinant Factor VIIa and Fibrinogen on Bleeding from Grade V
 Liver Injuries in Coagulopathic Swine
 This study is designed to evaluate the efficacy of Factor VIIa in swine models of
 hemorrhagic shock.
 Role on Project: Principal Investigator (1999 – 2001)

 5 M01 RR00334 (GCRC-772)
 Coagulation Parameters after Splenectomy in Trauma Patients
 This study is designed to determine the effects of splenectomy on coagulation parameters
 both early after injury and at 6 weeks.
 Role on Project: Principal Investigator (2005 – 2008)
 Office of Naval Research
 The Characterization of a Novel Fibrinogen Hemostatic Agent in Animal Models
 This study is designed to test the efficacy of a novel fibrinogen agent in stopping
 bleeding from a rat liver injury.
 Role on Project: Co-Investigator (2006 – 2008)
 Entek Manufacturing, Inc.
 The Efficacy of a Novel Hemostatic Bandage for Control of Hemorrhage from a
 Severe Grade V Liver Injury in Swine.
 The purpose of this study is to test the efficacy of a new highly porous, silica based
 dressing in stopping bleeding from a Grade V Liver Injury in Swine
 Role on Project: Primary Investigator (2006 – 2008)
 SAM Medical                                                                        2009
 A Comparison of Hemostatic Dressings in a Severe Groin Injury Model in Swine
 The purpose of the proposed study is to perform a randomized controlled trial comparing
 Combat Gauze to Celox-Gauze to Celox-D to standard gauze for hemorrhage control of a
 severe groin injury created in Yorkshire crossbred swine
 Role on Project: Principal Investigator (2009)
 U. S. Army Medical Research and Materiel Command W81XWH-04-1-0104
 The Effect of Hypotensive Resuscitation and Fluid Type on Mortality, Bleeding,
 Coagulation and Dysfunctional Inflammation in a Swine Grade V Liver Injury
 Model
 The purpose of this study is to determine the optimal resuscitation strategy in terms of
 resuscitation endpoints and fluids in an uncontrolled hemorrhage model in swine.
 Role on Project: Principal Investigator (2003 – 2011)
 5 M01 RR00334 (GCRC-946)

                                             11
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 26 of 107 PageID #:725




 Can TEG be used in place of anti-factor Xa levels to assess enoxaparin levels in
 patients with co-morbidities?
 This project is designed to determine if thrombelastograms can be used to determine the
 effect of lovenox in a diverse patient population to include patients with renal failure and
 obesity
 Role on Project: Principal Investigator (2005 – 2011)
 U.S. Army Medical Research Acquisition Act W81XWH-08-C-0712 (subcontract)
 Prospective Observational Multicenter Massive Transfusion Study (PROMMTT)
 The purpose of this study is to observe and document clinical practice for major trauma
 patients admitted to the ED who are at risk of massive transfusion.
 Role of project: Site Principal Investigator, Chairman of the Publication Committee
 (2009 – 2012)
 US Air Force Material Command/AFMC FA8650-09-2-6047
 Efficacy and Safety of Frozen Blood for Transfusion in Trauma Patients
 The purpose of this study is to evaluate tissue oxygenation, nitric oxide, and morbidity
 and mortality with use of cryopreserved blood compared to standard blood.
 Role of project: Principal Investigator (2009 – 2012)
 Medical Research Foundation of Oregon
 Thrombelastography-Based Dosing of Enoxaparin for Thromboprophylaxis: A
 Prospective Randomized Trial
 This project is designed to determine if thrombelastograms can be used to determine the
 effect of lovenox in a diverse patient population to include patients with renal failure and
 obesity.
 Role on project: Co-Investigator (2005 – 2012)

 US Air Force Material Command/AFMC FA8650-10-2-6143
 Efficacy and Safety of Frozen Blood for Transfusion in Trauma Patients – A Multi-
 Center Trial
 The purpose of this study is to evaluate tissue oxygenation, nitric oxide, and morbidity
 and mortality with use of cryopreserved blood compared to standard blood at 6 clinical
 sites.
 Role of project: Principal Investigator (2010 – 2014)
 CORA/MED
 Trauma Equivalency Study of the CORA® and TEG® 5000 Systems
 The purpose of this study is to compare the novel CORA (Coagulation Resonance
 Analyzer) system with the standard commercially available TEG 5000 system in trauma
 patients with a broad variety of coagulopathies.
 Role on Project: Primary Investigator (2015)

 Thrombelastography (TEG) Based Dosing of Enoxaparin for Thromboprophylaxis:
 A Prospective Randomzed Trial This is a multicenter prospective randomized trial
 designed to determine if TEG based dosing of enoxaparin is superior to standard dosing
 with respect to a reduction of thromboembolic complications without an increase in
 bleeding complications. Role on Project: Principal Investigator (2011-2015)
                                              12
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 27 of 107 PageID #:726




 U01 HL077863-06S2 National Institute of Health Lung and Blood Institute (NIHLBI)
 Holcomb (PI)
 Prospective, Randomized Optimal Platelet and Plasma Ratios (PROPPR)
 This is a multi-center project being performed in a prospective randomized format
 comparing the efficacy and safety of plasma, platelets and packed red blood cells given
 in a 1:1:1 ratio versus a 1:1:2 ratio.
 Role on Project: Primary Investigator, OHSU (2011 – 2016)

 1549586 National Science Foundation (NSF)
 Tissue Factor-Impregnated Dressing for Hemorrhage Control
 The goal of this research is to determine if the utilization of tissue factor as a
 procoagulant on gauze is superior to dressings currently in use for hemorrhage control.
 Role on Project: Principal Investigator (2016)

 HL-04-001, National Heart, Lung and Blood Institute (NHLBI) Daya (PI)
 Portland Emergency Prehospital Investigative Consortium (EPIC)
 This is a multicenter trial designed to conduct a series of studies related to the initial
 management of trauma and cardiac arrest patients.
 Role on Project: Trauma Primary Investigator (2004 – 2018)

 U10 National Institutes of Neurological Disorders and Stroke (NINDS) Barsan (PI)
 Brain Research/Acute Interventions: Neurological Emergencies Treatment Trial
 This is a multicenter project designed to perform pivotal trials evaluating therapeutics
 with the potential to improve outcomes after neurological emergencies.
 Role on project: Co-Investigator (2009 – 2018)

 US Army Medical Research Acquisition Activity ERMS #1333504
 Prehsopital Tranexamic acid Use for Traumatic Brain Injury
 This is a multi-center project designed to determine the efficacy of tranexamic acid in
 improving outcomes after traumatic brain injury.
 Role on Project: Clinical Principle Investigator (2013 – 2018)

 HHSN263210300003C National Institutes of Health (NIH)
 Predictors of Post-Traumatic Stress Disorder
 This is a multi-center study that is designed to identify patients who are at risk for
 developing PTSD. This study includes an epigenetic component seeking to find
 biochemical markers predictive of the development of PTSD.
 Role on Project: Primary Investigator (2013 – 2018)

 U01 HL077863 National Heart Lung and Blood Institute (NHLBI) May (PI)
 Prehospital Resuscitation on Helicopter Study
 This is a prospective, observational, multi-center trial designed to determine the benefits
 of delivering blood products in the pre-hospital setting during air transport. Air
 ambulances that carry blood products will be compared to those that do ot.

                                               13
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 28 of 107 PageID #:727




 Role on Project: Primary Investigator, OHSU (2014 – 2018)

 Grifols Investigator Sponsored research
 Is Anti-Thrombin III Deficiency Associated with Deep Vein Thrombosis in Surgical
 and Trauma Patients?
 This is a prospective observational study designed to determine if anti-thrombin III is
 associated with deep vein thrombosis in trauma patients.
 Role on Project: Primary Investigator (2015 – 2018)

 Trauma/Critical Care Fellows Trained

        1. Samual Rob Todd, MD 2002 - 2003
        2. Danetta Sue Slone, MD 2002 - 2003
        3. Jennifer Watters, MD 2004 - 2005
        4. Miko Enomoto, MD 2004 – 2005
        5. Bruce Ham, MD 2005 – 2006
        6. Nicole Vanderhayden, MD PhD 2005 – 2006
        7. Susan Rowell, MD 2006 – 2007
        8. Laszlo Kiraly, MD 2006 – 2007
        9. Arvin Gee, MD 2007 – 2008
        10. David Shapiro, MD 2007 – 2008
        11. Richard Nahouraii, MD 2008-2009
        12. Stephanie Gordy, MD 2008-2009
        13. Carrie Allison, MD 2008-2009
        14. Michael Englehart, MD 2009-2010
        15. Dan Anderson, MD 2009-2010
        16. Mary Claire Sarff, MD 2009-2010

 Laboratory Residents Mentored

        1. Jennifer Watters, MD 2003 - 2004
        2. Rebecca Sawai, MD 2004 - 2005
        3. Tracy Wiesberg, MD 2004 – 2005
        4. Laszlo Kiraly, MD 2005 – 2006
        5. Brandon Tieu, MD 2005 – 2007
        6. Michael Englehart, MD 2005 – 2007
        7. Arvin Gee, MD 2006 – 2007
        8. Melanie Morris, MD 2006 – 2007
        9. David Cho, MD 2006 – 2008
        10. Carrie Hink, MD 2007 – 2008
        11. Karen Zink, MD 2007 – 2008
        12. Chitra Sambasivan, MD 2008 – 2009
        13. Nicholas Spoerke, MD 2008 – 2009
        14. Philbert Van, MD 2008 – 2010
        15. Modjgan Keyghobadi, MD 2009 – 2010
        16. Gordon Riha, MD 2010 – 2011

                                           14
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 29 of 107 PageID #:728




        17. Nicholas Kunio, MD 2010 – 2011
        18. Tim Lee, MD 2011 – 2013
        19. Jeffrey Barton, MD 2011 – 2012
        20. Loic Fabricant, MD 2011 – 2012
        21. David Hampton, MD 2012 – 2013
        22. Sean McCully, MD 2012 – 2014
        23. Scott Louis, MD 2012 – 2013
        24. Alexis Moren, MD 2013 – 2014
        25. Kelly Fair, MD 2013 – 2014
        26. David Martin, MD 2013 – 2015
        27. Mackenzie Cook, MD 2013 – 2014
        28. Vicente Undurraga, MD 2013 – 2015
        29. Christopher Connelly, MD 2014 – 2015
        30. Davis Yonge, MD 2014 – 2015
        31. Justin Watson, MD 2014 - 2015
        32. Aravind Bommiasamy, MD 2015 – 2016
        33. Brandon Behrens, MD 2016 – 2017
        34. Sawyer Smith, MD 2016 – 2018
        35. Alix Dixon, MD 2018 – 2019
        36. Sarayu Subramania 2019 – 2021
        37. Marissa Beiling, MD 2021 – 2022
        38. Samantha Durbin, MD 2022 - 2023

 Laboratory Fellows and Post-Docs Mentored

        1.   Modjgan Keyghobadi, MD 2004 – 2006
        2.   Ayhan Karahan, MD 2006 – 2007
        3.   Gopal Singh, MD 2007 – 2008
        4.   Igor Kremenevskiy, MD, PhD 2008-2012
        5.   Dinh-Tuan Le, MD 2012
        6.   Belinda McCully, PhD 2012 – 2018
        7.   Amonpon Kanlerd, MD 2018 – 2019

 PUBLICATIONS

     1. Samuels, R. Schreiber MA, Patel, N, Hemobilia After a Gunshot Injury to the
        Liver. American Journal of Radiology 1996; 166:1304.

     2. Schreiber MA, Gentilello LM, Rhee P, Jurkovich GJ, Maier RV, Limiting
        Computed Tomography to Patients With Peritoneal Lavage Positive Results
        Reduces Cost and Unneccessary Celiotomies in Blunt Trauma. Arch Surg 1996;
        131:954-959.

     3. Schreiber MA, Gentilello LM, Rhee P, Jurkovich GJ, Maier RV, Blunt Trauma:
        Limiting CT to Patients with Peritoneal Lavage, Reducing Costs and Unnecessary
        Celiotomies. Chirurgia International 1997;4:14-16.

                                          15
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 30 of 107 PageID #:729




     4. Schreiber MA, Pusateri AE, Veit BC, Smiley RA, Morrison CA, Harris A,
        Timing of Vaccination Does not Affect Antibody Response or Survival Following
        Pneumococcal Challenge in Splenectomized Rats. The Journal of Trauma 1998;
        45:692-699.

     5. Morrison CA, Schreiber MA, Olsen SB, Hetz SP, Acosta MM, Femoral
        Venous Flow Dynamics During Intraperitoneal and Preperitoneal Laparoscopic
        Insufflation. Surgical Endoscopy 1998; 12: 1213-1216.

     6. Nessen S, Holcomb JB, Tonkinson B, Hetz SP, Schreiber MA, Early
        Laparoscopic Nissen Fundoplication for Recurrent Reflux Esophagitis: A Cost
        Effective Alternative to Omeprazole. Journal of the Society of Laparoscopic
        Surgery 1999; 3: 103-106.

     7. Gerhardt RT, Stewart T, De Lorenzo RA, Gourley EJ, Schreiber MA, McGhee
        JS. Air Medical Transport by a US Army Air Ambulance Unit Under the Military
        Assistance to Safety and Traffic (MAST) Program in El Paso, Texas: A Cross-
        sectional Study and Program Review. Prehospital Emergency Care 2000;4:136-
        143.

     8. Taylor SF, Kopchinski B, Schreiber MA, Singleton L,. Trauma Patient Outcome
        in an Army Deployable Medical Systems Environment Compared with a Medical
        Center. Military Medicine; 2000; 165:867-869.

     9. Gourley EJ, Schreiber MA, Gerhardt RT, Stewart TR. Military Assistance to
        Safety and Traffic (MAST) Services in El Paso: A Retrospective Analysis.
        Military Medicine; 2000; 165:870-874.

     10. Granchi TS, Schmittling ZC, Vasquez J, Schreiber MA, Wall MJ. Prolonged
         Use of Intraluminal Arterial Shunts Without Systemic Anticoagulation. The
         American Journal of Surgery; 2000; 180:493-497.

     11. Aoiki N, Wall MJ, Demsar J, Zupan B, Granchi T, Schreiber MA, Holcomb JB,
         Byrne M, Liscum K, Goodwin G, Beck JR, Mattox K. Predictive Model for
         Survival at the Conclusion of a Damage Control Laparotomy. The American
         Journal of Surgery; 2000; 180:540-545.

     12. Schreiber MA, Coburn M, Penetrating Pellet Injury of the Kidney Presenting
         with Complete Urinary Obstruction. The Journal of Trauma. 2001;50:1144-
         1146.

     13. Gerhardt RT, Stewart T, De Lorenzo RA, McGhee JS, Gourley EJ, Schreiber
         MA. US Army Air Ambulance Operations in El Paso, Texas: A Descriptive
         Study and System Review. Military Medicine; 2001; 166:102-107.



                                           16
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 31 of 107 PageID #:730




     14. Schreiber MA, Holcomb JB, Hedner U, Brundage SI, Macaitis JM, Hoots K.
         The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
         Liver Injuries. Journal of Trauma. 2002;53:252-259.

     15. Brill SA, Stewart TR, Brundage SI, Schreiber MA. Base Deficit Does not
         Predict Mortality When it is Secondary to Hyperchloremic Acidosis. Shock.
         2002;17:459-62.

     16. Schreiber MA, Holcomb JB, Conaway CW, Campbell KD, Wall M, Mattox KL.
         Military Trauma Training Performed in a Civilian Trauma Center. Journal of
         Surgical Research. 2002;104:8-14.

     17. Schreiber MA, Aoki N, Scott BG, Beck JR. Determinants of Mortality in
         Patients with Severe Blunt Head Injury. Archives of Surgery. 2002; 137:285-
         290.

     18. Tyroch AH, Kaups KL, Lorenzo Manuel, Solis D, Schreiber MA. Routine Chest
         Radiograph is not Indicated After Open Tracheostomy: A Multi-center
         Perspective. The American Surgeon. 2002; 68:80-82.

     19. Schreiber MA, Holcomb JB, Hedner U, Brundage SI, Macaitis JM, Aoki N,
         Meng ZH, Tweardy DJ, Hoots K. The Effect of Recombinant Factor VIIa on
         Non-Coagulopathic Pigs with Grade V Liver Injuries. Journal of the American
         College of Surgeons. 2003; 196:691-697.

     20. Brundage SI, Schreiber MA, Holcomb JB, Zautke N, Mastrangelo MA, Xu XQ,
         Macaitis JM, Tweardy DJ. Amplification of the Pro-Inflammatory Transcription
         Factor Cascade Increases with Severity of Uncontrolled Hemorrhage in Swine.
         Journal of Surgical Research. 2003; 113:74-80.

     21. Schreiber MA. Damage Control Surgery. Critical Care Clinics. 2004; 20:101-
         118.

     22. Watters JM, Brundage SI, Todd SR, Zautke NA, Stefater JA, Lam JC, Muller PJ,
         Malinoski D, Schreiber MA. Resuscitation with Lactated Ringer's Does Not
         Increase Inflammatory Response in a Swine Model of Uncontrolled Hemorrhagic
         Shock. Shock. 2004; 22:283-287.

     23. Brundage SI, Zautke NA, Watters JM, Stefater JA, Todd SR, Lam JC, Schreiber
         MA. Lactated Ringer's Does Not Increase Inflammation after Shock. 6th World
         Congress on Trauma, Shock, Inflammation and Sepsis. 2004; EC302C0210:151-
         155.

     24. Tisherman SA, Barie P, Bokhari F, Bonadies J, Daley B, Eachempati S, Kurek S,
         Luchette F, Puyana JC, Schreiber MA, Simon R. Clinical Practice Guideline:
         Endpoints of Resuscitation. Journal of Trauma. 2004; 57:898-912.

                                           17
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 32 of 107 PageID #:731




     25. Schreiber MA, Differding J, Thorborg P, Mayberry JC, Mullins RJ.
         Hypercoagulability is Most Prevalent Early After Injury and in Female Patients.
         Journal of Trauma. 2005; 58:475-481.

     26. Dorlac WC, Debakey ME, Holcomb JB, Fagan SP, Kwong KL, Dorlac GR,
         Schreiber MA, Persse DE, Moore FA, Mattox KL. Mortality from Isolated
         Civilian Penetrating Extremity Injury. Journal of Trauma. 2005;59:217-222.

     27. Macht M, Rizvi A, Schreiber MA, Wilson WS. Impalement with Spinal Cord
         Injury Requiring Intraoperative Division of a Reinforced Steel Bar. European
         Journal of Trauma. 2005;31:503-507.

     28. Malinoski DJ, Todd SR, Slone S, Mullins RJ, Schreiber MA. Correlation of
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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 79 of 107 PageID #:778




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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 82 of 107 PageID #:781




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                                            70
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 85 of 107 PageID #:784




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                                             71
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 86 of 107 PageID #:785




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 CLINICAL PRESENTATIONS

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     3. Complimentary Use of Peritoneal Lavage and CT in the Management of Blunt
        Abdominal Trauma - Presented at the Pacific Coast Surgical Association
        Scientific Program 1996

     4. Effect of Pre-peritoneal and Intra-peritoneal Insufflation on Femoral Venous Flow
        - Presented at the Washington State Chapter Meeting of the ACS 1996

     5. Abdominal Compartment Syndrome - R. E. Thomason Hospital Trauma Grand
        Rounds, El Paso, Texas 1998

     6. Penetrating Neck Trauma - Providence Memorial Hospital Trauma Grand
        Rounds, El Paso, Texas 1998

     7. Cost Effective Evaluation of the Abdomen in Blunt Trauma - 4th Annual Army
        Symposium on Trauma, San Antonio, TX 1998

     8. Cost Effective Evaluation of the Abdomen in Blunt Trauma - Ben Taub General
        Hospital Grand Rounds 1998

     9. MAST Services in El Paso: A Retrospective Analysis and Comparison to the
        Major Trauma Outcome Study, Current - Winner Army Trauma Competition at
        Gary Wratten Symposium 1998

     10. Hyperchloremic Metabolic Acidosis in the Critically Ill Trauma Patient, Current -
         Presented At Gary Wratten Symposium 1998

     11. The Effect of Tricare on a Surgical Residency Program - Presented at Gary
         Wratten Symposium 1998

     12. Substernal Goiter: Is Operative Management Mandatory? -Winner 3rd Place in
         Resident Competition at the 1998 Southern Medical Association Meeting The
         Effect of Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver



                                            72
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 87 of 107 PageID #:786




        Injury Model - 2nd Place Army Trauma Competition, Gary Wratten Symposium
        1999

     13. Cost Effective Evaluation of the Abdomen in Blunt Trauma - University of Utah
         Trauma Conference 1999

     14. Damage Control Surgery, Physiologic Considerations - Baylor College of
         Medicine Anesthesia Grand Rounds 1999

     15. Damage Control Surgery, Physiologic Considerations - William Beaumont Army
         Medical Center Multidisciplinary Trauma Conference 1999

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     17. Trauma at Ben Taub – Hermann Hospital Trauma Development Day 2000

     18. Abdominal Compartment Syndrome – William Beaumont Army Medical Center
         Multidisciplinary Trauma Conference 2000

     19. Abdominal Compartment Syndrome – Ben Taub General Hospital
         Multidisciplinary Trauma Conference 2000

     20. Tackling Trauma Transfers – Trauma Care 2000, Warwick Hotel, Houston, TX
         September 2000

     21. Recombinant Factor VIIa: A Novel Approach to Hemorrhage Control, Advanced
         Technology Applications to Combat Casualty Care, Ft Walton Beach, FL
         September 2000

     22. Damage Control Surgery, Physiologic Considerations – University of California
         San Francisco at Fresno Surgical Grand Rounds, Fresno, CA November 2000

     23. Determinants of Mortality in Patients with Severe Blunt Head Injury – Michael E.
         Debakey International Surgical Society, Houston, TX. November 2000

     24. The Effects of Urokinase on Bleeding and the Coagulation Cascade in a Pig Liver
         Injury Model – Michael E. DeBakey International Surgical Society, Houston, TX.
         November 2000

     25. Determinants of Mortality in Patients with Severe Blunt Head Injury – Eastern
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         Houston, TX March 2001




                                            73
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 88 of 107 PageID #:787




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         Sciences University Surgical Grand Rounds, Portland, OR May 2001

     27. Base Deficit Does not Predict Mortality when it Secondary to Hyperchloremic
         Acidosis – The Shock Society, Marco Island, FL June 2001

     28. The Effect of Recombinant Factor VIIa on Non-Coagulopathic Pigs with Grade V
         Liver Injuries – International Society on Thrombosis and Haemostasis, Paris,
         France July 2001

     29. The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
         Liver Injuries – Advanced Technology Applications to Combat Casualty Care, Ft
         Walton Beach, FL September 2001

     30. Diversion: A Necessity for Survival – The Harris County Hospital District
         Annual Trauma Workshop, Houston, TX October 2001

     31. Adult Respiratory Distress Syndrome – Rio Grande Trauma Conference &
         Pediatric Trauma Update III, El Paso, TX November 2001

     32. Military Trauma Training Performed in a Civilian Trauma Center – Association
         for Academic Surgery, Milwaukee, WI November 2001

     33. The Effect of Recombinant Factor VIIa on Coagulopathic Pigs with Grade V
         Liver Injuries - Eastern Association for the Surgery of Trauma, Orlando, FL
         January 2002

     34. Modulation of the Coagulation Cascade in Trauma Patients – 13th Annual
         Northwest states Trauma Conference, Bend, OR April 2002

     35. Adult Respiratory Distress Syndrome – Oregon Health Sciences University
         Surgical Grand Rounds, Portland, OR October 2002

     36. Modulation of the Coagulation Cascade in ICU Patients – 29th Annual Oregon
         Chapter of the Society of Critical Care Medicine Critical Care Symposium,
         Portland, OR November 2002

     37. Management of the Severely Injured – 34th Annual Family Practice Review,
         Portland, OR February 2003

     38. Modulation of the Coagulation Cascade in Trauma Patients - Grand Rounds,
         Brooke Army Medical Center, San Antonio, TX June 2003

     39. Future Directions: Managing Anemia in the Surgical Patient - 39th Annual
         Meeting Oregon Chapter American College of Surgeons, Sunriver, OR September
         2003

                                            74
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 89 of 107 PageID #:788




     40. Modulation of the Coagulation Cascade - Grand Rounds, University of California
         San Francisco - East Bay, Oakland, CA October 2003

     41. Abdominal Compartment Syndrome - 30th Annual Critical Care Symposium,
         Portland, OR October 2003

     42. Resuscitation of Uncontrolled Hemorrhagic Shock - Anesthesia Grand Rounds,
         Oregon Health & Science University, Portland, OR January 2004

     43. Management of the Severely Injured - 35th Annual Family Practice Review,
         Portland, OR February 2004

     44. Recombinant Factor VIIa, Uses in Trauma - 33rd Critical Care Congress of the
         Society of Critical Care Medicine, Orlando, FL February 2004

     45. Initial Resuscitation of the Trauma Patient, Hemoglobin Substitutes - 15th Annual
         Trauma Conference Harborview Medical Center, Seattle, WA March 2004

     46. Resuscitation Pearls – 15th Annual Northwest States Trauma Conference,
         Sunriver, OR April 2004

     47. Novel Methods of Hemorrhage Control – 15th Annual Northwest States Trauma,
         Conference, Sunriver, OR April 2004

     48. Modulation of the Coagulation Cascade - Grand Rounds, University of Texas
         Houston, TX May 2004

     49. Hypercoagulability is Most Prevalent Early after Injury and in Females -
         American Association for the Surgery of Trauma Maui, Hawaii October 2004

     50. Resuscitation in 2004: Are We Doing it the Right Way? 2nd Annual Directors'
         Forum Maui, Hawaii October 2004

     51. Catastrophic Bleeding. The American Red Cross Portland, OR October 2004

     52. What's New in Resuscitation?, Novel Methods of Hemorrhage Control and Adult
         Respiratory Distress Syndrome in the Trauma Patient. Portneuf Trauma and
         Emergency Care Conference Pocatello, Idaho October 2004

     53. Lactated Ringer's is Superior to Normal Saline for the Resuscitation of
         Hemorrhagic Shock - Grand Rounds, Oregon Health & Science University
         December 2004

     54. Modulation of the Coagulation Cascade in Trauma Patients. St. Charles Medical
         Center Trauma Conference. Bend, Oregon January 2005.

                                            75
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 90 of 107 PageID #:789




     55. Management of the Severely Injured - 36th Annual Family Practice Review,
         Portland, OR February 2005

     56. Modulation of the Coagulation Cascade. Marin General Hospital Trauma
         Conference. Marin, California March 2005

     57. An OHSU Surgeon Goes To War. 23rd Annual Northwest Winter Conference in
         Emergency Medicine. Sunriver, Oregon January 2006

     58. Hemoglobin-Based Oxygen Carrier (HBOC) Use in Neurotrauma Care. Invited
         Discussant. Eastern Association for the Surgery of Trauma. Orlando, Florida
         January 2006

     59. Control of Hemorrhage: It Pays to be Aggressive. 17th Annual Northwest States
         Trauma Conference. Sunriver, Oregon April 2006

     60. The Iraqi Experience. 17th Annual Northwest States Trauma Conference.
         Sunriver, Oregon April 2006

     61. Medical Care in Operation Iraqi Freedom III. Trauma Conference. Santa Rosa,
         CA June 2006

     62. Medical Care in Operation Iraqi Freedom III. Surgical grand Rounds, Providence
         St. Vincent Medical Center. Portland, Oregon August 2006

     63. Potential Benefits of Ketamine as a Battlefield Anesthetic. Advanced Technology
         Applications for Combat Casualty Care. St. Petersburg, Florida August 2006

     64. Predictors of Massive Transfusion in Combat Casualties. Advanced Technology
         Applications for Combat Casualty Care. St. Petersburg, Florida August 2006

     65. Airway Pressure Release Ventilation. Trends in Respiratory & Acute Care.
         Troutdale, Oregon September 2006.

     66. Hemostasis in Military Casualties. Second Thrombin Symposium. Challenges in
         Surgical Hemostasis. Seattle, Washington September 2006.

     67. Postmortem Computed Tomography (CATopsy) Predicts Cause of Death in
         Trauma Patients. Invited Discussant. American Association for the Surgery of
         Trauma. New Orleans, Louisiana September 2006.

     68. Early vs. Late Recombinant Factor VIIa Usage in Trauma patients Requiring
         Massive Transfusion in Combat Support Hospitals. American Association for the
         Surgery of Trauma. New Orleans, Louisiana September 2006.



                                           76
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 91 of 107 PageID #:790




     69. Early Coagulopathy after Traumatic Brain Injury: The Role of Hypoperfusion
         and the Protein C Pathway. Invited Discussant. American Association for the
         Surgery of Trauma. New Orleans, Louisiana September 2006.

     70. Induction of Profound Hypothermia Improves Survival in a Swine Model of
         complex Vascular, Splenic, and coonic Injuries, without an Increase in Bleeding
         and Septic Complications. Invited Discussant. American College of Surgeons.
         Chicago, Illinois October 2006.

     71. Comparison of Prolonged Hypotensive and Normotensive Resuscitation
         Strategies in a Porcine Model of Hemorrhagic Shock. Invited Discussant.
         American College of Surgeons. Chicago, Illinois October 2006.

     72. Mesenteric Ischemia. American College of Surgeons. Chicago, Illinois October
         2006.

     73. Fluids and Their Effects on Hemostasis. American College of Surgeons.
         Chicago, Illinois October 2006.

     74. Is Hypothermia after Major Injury Protective or Harmful? American College of
         Surgeons. Chicago, Illinois October 2006.

     75. Medical Care in Operation Iraqi Freedom III. Portland Surgical Society.
         Portland, Oregon October 2006

     76. Modulation of Coagulation. Trauma conference, Albany General Hospital.
         Albany, Oregon November 2006

     77. Care of Patients in Operation Iraqi Freedom III. Thirty-third Annual Critical Care
         Symposium. Portland, Oregon November 2006

     78. A Reserve Surgeon Goes to War. Annual Training Conference, 6th Medical
         Recruiting Battalion. Las Vegas, Nevada December 2006

     79. Medical Care in Operation Iraqi Freedom III. Internal Medicine Grand Rounds,
         Oregon Health & Science University. Portland, Oregon January 2007

     80. Endotoxin tolerance in Sepsis: Concentration Dependent Augmentation or
         Inhibition of LPWS-Stimulated Macrophage TNF Secretion by LPS Pretreatment.
         Invited Discussant. Eastern Association for the Surgery of Trauma. Fort Myers,
         Florida January 2007

     81. Fibrin Sealants. Extremity War Injuries II. Washington DC, January 2007.

     82. Novel Methods of Hemorrhage Control. 24th Annual Northwest Winter
         Conference in Emergency Medicine. Sunriver, OR, January 2007.

                                            77
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 92 of 107 PageID #:791




     83. Novel Methods of Hemorrhage Control. Vascular Conference. Oregon Health &
         Science University, Portland, Oregon February 2007.

     84. Resuscitation and Systemic Hemorrhage Control. 45th Critical Care, Trauma and
         Emergency Medicine Symposium, Las Vegas, NV February 2007.

     85. Emergent Hemorrhage Control. 45th Critical Care, Trauma and Emergency
         Medicine Symposium, Las Vegas, NV February 2007.

     86. Lessons Learned from Operation Iraqi Freedom III. 45th Critical Care, Trauma
         and Emergency Medicine Symposium, Las Vegas, NV February 2007.

     87. The Abdominal Compartment Syndrome. 45th Critical Care, Trauma and
         Emergency Medicine Symposium, Las Vegas, NV February 2007.

     88. Lessons Learned from Operation Iraqi Freedom III. Josephine County Medical
         Society Dinner, Grants Pass, Oregon May 2007.

     89. Assessing the Medical Resource Needs of Combat Support Hospitals. Advanced
         Technology Applications for Combat Casualty Care, St. Petersburg, Florida
         August 2007.

     90. Characterization of a novel Fibrinogen Hemostatic Agent in Animal Injury
         Models. Advanced Technology Applications for Combat Casualty Care, St.
         Petersburg, Florida August 2007.

     91. Invited Discussant: Causes of Death and Injury Severity in Operation Iraqi
         Freedom and Operation Enduring Freedom: 2003-2004 vs. 2006. Advanced
         Technology Applications for Combat Casualty Care, St. Petersburg, Florida
         August 2007.

     92. Invited Discussant: Blood Product Effect on Survival for Patients with Combat
         Related Injuries. Advanced Technology Applications for Combat Casualty Care,
         St. Petersburg, Florida August 2007.

     93. Research: Questions and Answers from Academic Trauma Surgeons. American
         Association for the Surgery of Trauma, Las Vegas, NV September 2007.

     94. Optimal Resuscitation Endpoints. American College of Surgeons. New Orleans,
         LA October 2007.

     95. Invited Discussant: Induced Hypothermia is Associated with Improved Outcomes
         in Porcine Hemorrhagic Shock. American College of Surgeons. New Orleans,
         LA October 2007.



                                           78
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 93 of 107 PageID #:792




     96. Closure of Paper. Management and Outcome of Pneumatosis Intestinalis. North
         Pacific Surgical Association. Victoria, British Columbia. November 2007.

     97. Permissive Hypotension, Fluid Resuscitation and Coagulopathies in the Trauma
         Patient. Kadlec Hospital Grand Rounds. Richland, Washington. December
         2007.

     98. Lessons Learned in the War on Terror. East Bay Surgical Society. Walnut
         Creek, California. February 2008.

     99. The Effect of Fluid on Coagulation. Highland Hospital Surgical Grand Rounds.
         Oakland, California February 2008.


     100.       The Use of Leukoreduced Blood does not Reduce Infection, Organ
        Failure, or Mortality Following Trauma. Senior Discussant. Pacific Coast
        Surgical Association, 79th Meeting. San Diego, California February 2008.

     101.      Is There a Role for Aggressive use of Fresh Frozen Plasma in Massive
        Transfusion of Civilian Trauma Patients? Invited Discussant. Southwestern
        Surgical Congress. Acapulco, Mexico April 2008.

     102.     Ongoing Medical Advances in the War on Terror. Northwest States
        Trauma Conference. Bend, Oregon April 2008.

     103.      Blood Transfusions: Kindness or Murder. Northwest States Trauma
        Conference. Bend, Oregon April 2008.

     104.     Good Drugs Gone Bad! Antithrombotic Agents and Their Reversal in
        Trauma. Adding Insult to Injury: The Role of Chronic Conditions in Acute
        Trauma Care. Billings, Montana May 2008.

     105.      Fluid Modulates Coagulation after Trauma. Adding Insult to Injury: The
        Role of Chronic Conditions in Acute Trauma Care. Billings, Montana May
        2008.

     106.     Medical Advances Made in the War on Terror. Billings Clinic Grand
        Rounds. Billings, Montana May 2008.

     107.     Fibrin Sealants to Stop Bleeding in Surgery. American College of
        Surgeons 94th Annual Congress. San Francisco, California October 2008.

     108.      Modern Control of Hemorrhage. Balboa Naval Hospital Grand Rounds.
        San Diego, California January 2009.




                                           79
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 94 of 107 PageID #:793




     109.      The Use of Lyophilized Plasma for Resuscitation in a Swine Model of
        Resuscitation. 80th Annual Meeting of the Pacific Coast Surgical Association.
        San Francisco, California February 2009.

     110.      A Simplified Set of Trauma Triage Criteria Safely Reduces Over-Triage:
        A Prospective Study. Invited Discussant. 80th Annual Meeting of the Pacific
        Coast Surgical Association. San Francisco, California February 2009.

     111.      Admission Ionized Calcium Levels Prdict the Need for Multiple
        Transfusions: A Prospective Study of 591 Critically-Ill Trauma Patients. Invited
        Discussant. American Association for the Surgery of Trauma. Pittsburgh,
        Pennsylvania October 2009.

     112.      Activated Recombinant Factor VIIa Reduces Repeated Operations for
        Hemorrhage Following Major Abdominal Surgery. Invited Discussant. 80th
        Annual Meeting of the Pacific Coast Surgical Association. San Francisco,
        California February 2009.

     113.     Progress with New Formulations of Lyophilized Plasma. Advanced
        Technology Applications for Combat Casualty Care, St. Petersburg, Florida
        August 2009.

     114.     New Hemostatic Agents to Control Bleeding; Meet the Expert Luncheon.
        American College of Surgeons, Chicago, Illinois October 2009

     115.      Surgical Resident Perceptions of Trauma Surgery as a Specialty. Invited
        Discussant. American College of Surgeons, Chicago, Illinois October 2009

     116.    Resuscitation of Hemorrhagic Shock in 2009. Detroit Trauma
        Symposium. Detroit, Michigan November 2009

     117.       Modern Methods of Hemorrhage Control. Detroit Trauma Symposium.
        Detroit, Michigan November 2009

     118.     Splenectomy May Lead to a Persistent Hypercoagulable State after
        Trauma. North Pacific Surgical Association. Portland, OR November 2009

     119.    How Bad is Blood? 36th Annual Critical Care Symposium. Portland, OR
        November 2009.

     120.     Normal Saline. Prehospital Fluid Conference. Dallas, Texas January
        2010.

     121.      Ethanol Consumption Increases Serum Testosterone in Healthy
        Volunteers. Pacific Coast Surgical Association. Maui, Hawaii February 2010.



                                           80
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 95 of 107 PageID #:794




     122.      The Impact of ABO-Identical Versus ABO-Compatible, Nonidentical
        Plasma Transfusion in Trauma Patients. (Invited Discussant) Pacific Coast
        Surgical Association. Maui, Hawaii February 2010.

     123.     Indications for and Risks of Pre-thawed Fresh Frozen Plasma. 8th World
        Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany March
        2010.

     124.      The Use of the Wittmann Patch Facilitates a High Rate of Fascial Closure
        in Severely Injured Trauma Patients and Critically Ill Surgery Patients. 8th World
        Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany March
        2010.

     125.     Point of Care Diagnostics for Assessment of Acute Coagulopathy. 8th
        World Congress on Trauma, Shock, Inflammation and Sepsis. Munich, Germany
        March 2010.

     126.     Necrotizing Fasciitis. Trauma, Critical Care & Acute Care Surgery 2010.
        Las Vegas, Nevada March 2010.

     127.       Blood Volume Repletion is Optimally Performed in the ICU. Trauma,
        Critical Care & Acute Care Surgery 2010. Las Vegas, Nevada March 2010.

     128.     The Effects of Systemic Trauma on Coagulation. Trans Agency
        Coagulopathy in Trauma Workshop. National Institutes of Health. Bethesda,
        Maryland April 2010.

     129.      The Joint Theater Trauma System. CENTCOM Surgeon’s Conference.
        Qatar June 2010.

     130.      Blood Transfusions, Kindness or Murder. Grand Rounds Craig Joint
        Theater Hospital. Bagram, Afghanistan July 2010.

     131.     Joint Theater Trauma System, Applications to Civilian Systems. 96th
        Annual Congress of the American College of Surgeons. Washington DC,
        October 2010.

     132.     The Joint Theater Trauma System. Vancouver General Hospital Trauma
        Rounds. Vancouver, Washington December 2010.

     133.      Systemic Hemostatic Agents – Non-FDA Approved Uses. Public
        Workshop: Product Development Program for Interventions in Severe Bleeding
        Due to Trauma or Other Causes. FDA, Bethesda, Maryland December 2010.

     134.     Acute Coagulopathy of Trauma. Combat Trauma Innovation. London,
        England January 2011.

                                            81
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 96 of 107 PageID #:795




     135.     Pro-Coagulant Hemostatic Agents. Combat Trauma Innovation. London,
        England January 2011.

     136.     Damage Control Resuscitation – Plasma and Plasma Products. London,
        England January 2011.

     137.      Colon Injuries, What Would Ogilvie Say in 2011. Eastern Association for
        the Surgery of Trauma. Naples, Florida January 2011.

     138.      Splenic Injuries – Is it Time for Conservative Management in Theater?
        Eastern Association for the Surgery of Trauma. Naples, Florida January 2011.

     139.     Point:Counter Point – Operative Fixation of Flail Chest and Rib Fractures.
        Western Trauma Associaiton. Big Sky, Montana March 2011.

     140.       Joint Theater Trauma System and the Blood Bank – 39th Annual Meeting
        of the Society of Armed Forces Medical Laboratory Scientists, Armed Services
        Blood Program Update. New Orleans, Louisiana March 2011.

     141.       Make it Stick: Coagulopathy Management 2011 and the Future. Trauma,
        Critical Care & Acute Care Surgery 2011. Las Vegas, Nevada April 2011.

     142.     Norma Saline: Is it Safe? Trauma, Critical Care & Acute Care Surgery
        2011. Las Vegas, Nevada April 2011.

     143.     Normal Saline Versus Lactated Ringer’s: Would the FDA Approve
        Normal Saline for Use in 2011? University of Texas Grand Rounds. Houston,
        TX May 2011.

     144.      The Joint Theater Trauma System – Washington, Oregon American
        College of Surgeons Chapter Meeting. Chelan, Washington June 2011

     145.      The Joint Theater Trauma System and How 9/11 Influenced It. 9/11 Ten
        Years Later. What Have We Learned? New York University, New York, New
        York. September 2011.

     146.      Blast Injuries: From the Field to the ICU, What You Need to Know.
        9/11 Ten Years Later. What Have We Learned? New York University, New
        York, New York. September 2011.

     147.       Controversies Concerning the Use of Fresh Whole Blood in the Military
        Setting. 22nd International Congress of the Israel Society of Anesthesiologists.
        Tel Aviv, Israel. September 2011.




                                            82
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 97 of 107 PageID #:796




     148.     Conflicts in Iraq and Afghanistan: Lessons Learned. 22nd International
        Congress of the Israel Society of Anesthesiologists. Tel Aviv, Israel. September
        2011.

     149.      Blood Transfusions: The Rules Have Changed. 97th Annual American
        College of Surgeons Clinical Congress. San Francisco, California. October 2011.

     150.      What is Lyophilized Plasma? 97th Annual American College of Surgeons
        Clinical Congress. San Francisco, California. October 2011.

     151.      Novel Methods of Hemorrhage Control. 3rd Annual Southwest Trauma &
        Acute Care Symposium. Scottsdale, Arizona. November 2011.

     152.     Novel Blood Products for Treatment of Hemorrhagic Shock 3rd Annual
        Southwest Trauma & Acute Care Symposium. Scottsdale, Arizona. November
        2011.

     153.      The Acute Coagulopathy of Trauma, Diagnosis and Treatment. Trauma
        Care 2011. Columbus, Ohio. November 2011.

     154.      What is the Difference Between Trauma Centers? Appropriate Triage of
        Trauma Patients. Trauma Care 2011. Columbus, Ohio. November 2011.

     155.     The Year in Combat. Eastern Association for the Surgery of Trauma.
        Orlando, FL. January 2012.

     156.     The Current Status of Hemostatic Dressings. Combat Trauma Innovation
        2012. London, England. January 2012.

     157.     The Acute Coagulopathy of Trauma and its Treatment in 2012. Combat
        Trauma Innovation 2012. London, England. January 2012.

     158.      Lyophilized Plasma: Coming to a Hospital Near You. Combat Trauma
        Innovation 2012. London, England. January 2012.

     159.       Dilutional Coagulopathy, How to Measure and How to Correct. 41st
        Critical Care Congress. Houston, Texas. February 2012.

     160.     Low Volume Fluid Resuscitation. Prehospital Trauma Symposium.
        Harborview Medical Center. Seattle, Washington. February 2012.

     161.      The Acute Coagulopathy of Trauma: Pathophysiology, Diagnosis and
        Novel Treatments. University of Maryland, Department of Surgery and Division
        of Trauma Grand Rounds. Baltimore, Maryland. February 2012.




                                            83
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 98 of 107 PageID #:797




     162.      Disasters Lessons Learned in the War on Terror. Trauma, Critical Care &
        Acute Care Surgery 2012. Las Vegas, Nevada. March 2012.

     163.     Resuscitation Redefined. Trauma, Critical Care & Acute Care Surgery
        2012. Las Vegas, Nevada. March 2012.

     164.      Blast Injuries from Battlefield to ICU. Trauma, Critical Care & Acute
        Care Surgery 2012. Las Vegas, Nevada. March 2012.

     165.      Lactaed Ringers versus Normal Saline for the Resuscitation of
        Hemorrhagic Shock. Current Topics in Trauma Care 2012. Midland, Texas,
        April 2012

     166.    The Use of Lyophilized Plasma in a Multi-injury Pig Model. Remote
        Damage Control Resuscitation. Bergen, Norway, June 2012.

     167.    Near Infrared Spectroscopy: Clinical and Research Uses. Remote
        Damage Control Resuscitation. Bergen, Norway, June 2012.

     168.      The Way Forward in Resuscitation Research. FDA Workshop on Benefits
        and Risks of Hydroxyethyl Starch for Resuscitation. Bethesda, Maryland.
        September 2012.

     169.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. Trauma Center Association of America. Charleston, South Carolina.
        October 2012.

     170.      Modern Methods of Hemorrhage Control, 2012 and Forward. Trauma
        Center Association of America. Charleston, South Carolina. October 2012.

     171.      Hypotensive Resuscitation; Death of Another Sacred Cow. American
        Heart Association. Los Angeles, CA. November 2012.

     172.     The Acute Coagulopathy of Trauma. West Virginia University
        Department of Surgery Grand Rounds. Morgantown, West Virginia. November
        2012.

     173.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. OPALS Prehospital Research Group Meeting. Ottawa, Canada.
        November 2012.

     174.     Hypotensive Resuscitation, Progress Report from the Resuscitation
        Outcomes Consortium. OPALS Prehospital Group Meeting. Ottawa, Canada.
        November 2012.




                                           84
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 99 of 107 PageID #:798




     175.      Initial Management of the Trauma Patient. Trauma & Emergency
        Surgery. American Austrian Foundation. Salzburg, Austria. January 2013.

     176.     Considerations in Penetrating Trauma. Trauma & Emergency Surgery.
        American Austrian Foundation. Salzburg, Austria. January 2013.

     177.      Damage Control Surgery. Trauma & Emergency Surgery. American
        Austrian Foundation. Salzburg, Austria. January 2013.

     178.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. February in Phoenix Trauma Symposium. February 2013.

     179.    Blast Injury: What You Need to Know. February in Phoenix Trauma
        Symposium. Phoenix, Arizona February 2013.

     180.     Frozen Deglycerolized Red Blood Cells are Superior to Standard Liquid
        Red Blood Cells. Transfusion 2013. Phoenix, Arizona March 2013.

     181.      The Joint Theater Trauma System, The Greatest Trauma System Ever
        Created. Arkansas Trauma Conference. Little Rock, Arkansas April 2013

     182.       Modern Methods of Hemorrhage Control. Arkansas Trauma Conference.
        Little Rock, Arkansas April 2013

     183.       Major Venous Injuries Should Always be Repaired. Austin Trauma &
        Critical Care Conference. Austin, Texas May 2013

     184.      Topical Hemostatic Agents. Austin Trauma & Critical Care Conference.
        Austin, Texas May 2013

     185.      Novel Blood Transfusion Strategies. John Paul Pryor Oration, University
        of Pennsylvania. Philadelphia, Pennsylvania June 2013

     186.     Novel Methods of Hemorrhage Control. University of Pennsylvania
        Trauma Grand Rounds. Philadelphia, Pennsylvania June 2013

     187.     Resuscitation 2013. World Trauma Symposium. Las Vegas, Nevada
        September 2013

     188.     Modern Methods of Hemorrhage Control. World Trauma Symposium.
        Las Vegas, Nevada September 2013

     189.     Adjunctive Therapy for Coagulopathy is Superior. Trauma Quality
        Improvement Conference. Reno, Nevada November 2013




                                           85
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 100 of 107 PageID #:799




     190.     The Use of Thrombelastography to Guide Treatment of Coagulopathy.
        Thrombelastography Symposium. Moscow, Russia November 2013

     191.     Blood Transfusions 2014. Burlington Northern Visiting Lectureship in
        Trauma. University of Texas Southwestern Medical Center. Dallas, Texas.
        December 2013.

     192.      Enoxaparin “Tis is Better to Miss a Dose or Never to Have Started it at
        All?” Trauma, Critical Care & Acute Care Surgery 2014. Las Vegas, Nevada.
        March 2014. Presented from Shank, Afghanistan.

     193.      PCC and Fibrinogen, Better Than Plasma? Trauma, Critical Care & Acute
        Care Surgery 2014. Las Vegas, Nevada. March 2014. Presented from Shank,
        Afghanistan.

     194.       Management of Coagulopathy in Trauma – What Do We Know and What
        is in Store? Critical Care Summer Session. University of California San Diego.
        San Diego, California. July 2014.

     195.      Novel Blood Transfusion Strategies. 2nd Annual Richard B. Fratianne
        Endowed Lectureship in Trauma. MetroHealth Medical Center, Department of
        Surgery Case Western Reserve University. Cleveland, Ohio. July 2014.

     196.      A Controlled Resuscitation Strategy is Feasible and Safe in Hypotensive
        Trauma Patients: Results of a Prospective Randomized Pilot Trial. Military
        Health Systems Research Symposium. Fort Lauderdale, Florida. August 2014.

     197.      A Controlled Resuscitation Strategy is Feasible and Safe in Hypotensive
        Trauma Patients: Results of a Prospective Randomized Pilot Trial. American
        Association for the Surgery of Trauma. Philadelphia, Pennsylvania. September
        2014.

     198.      Is There a TEM Parameter Cut Off That Could Be Used To Withhold
        Transfusion of Blood Product? Consensus Conference on TEM Based
        Transfusion Guidelines for Early Trauma Resuscitation. Philadelphia,
        Pennsylvania. September 2014.

     199.     Innovative Approaches to Hemorrhagic Shock. SEAHEC 26th Annual
        Trauma & Emergency Symposium. Wilmington, North Carolina. February 2015.

     200.     Damage Control Resuscitation. University of British Columbia Grand
        Rounds. Vancouver, British Columbia. February 2015.

     201.       Frozen Deglycerolized Red Blood Cells are Safe and Effective in Trauma
        Patients. American Surgical Association. San Diego, California, April 2015.



                                            86
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 101 of 107 PageID #:800




     202.      Frozen as Fresh Red Blood Cells for Remote Damage Control
        Resuscitation. Trauma, Hemostasis & Oxygenation Research Conference.
        Bergen, Norway. June 2015.

     203.      When and How Should Tranexamic Acid be Given in the Prehospital
        Environment? Resuscitation. Trauma, Hemostasis & Oxygenation Research
        Conference. Bergen, Norway. June 2015.

     204.       The Advantages of Dried Plasma for Use in Austere Conditions.
        International Plasma Fractionation Association. Stellenbosch, South Africa.
        December 2015.

     205.       Lessons from the Battlefield: How Military Trauma Care Transforms
        Civilian Care in the United States. Marquam Hill Lecture Series. Portland, OR.
        February 2016.

     206.     Blood Transfusions: A Frontier We Have Just Begun to Explore.
        Laerdahl Memorial Award Lecture. Society of Critical Care Medicine. Orlando,
        FL. February 2016.

     207.     Blood Transfusions 2016. Swiss Army Day. Bern, Switzerland. March
        2016.

     208.      Blood Transfusions: An Old Therapy with Exciting New Frontiers. Duke
        University Department of Surgery Grand Rounds. October 2016.

     209.     Damage Control Resuscitation. International Society of Blood Therapies.
        Copenhagen, Denmark. June 2017.

     210.      Blood Component Therapy and Major Trauma Transfusion. Combined
        US Army and Qatari Military Trauma Casualty Care Seminar. Doha, Qatar.
        February 2018.

     211.      Novel Blood Products Now and Into the Future. R. Arnold Griswold MD
        Lectureship. Louisville, Kentucky. March 2019.

     212.     TXA Randomized Comparative Trial Data Review from OHSU. Trauma,
        Hemostasis & Oxygenation Research. Bergen, Norway. June 2019.

     213.    Prehospital Tranexamic Acid for Use in TBI. Tranexamic Acid in Trauma
        Symposium. Melbourne, Australia. July 2019.

     214.      Dosing of Enoxaparin, Do We Know What We Are Doing. International
        Association for Trauma and Intensive Care. Krakow, Poland. August 2019.




                                           87
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 102 of 107 PageID #:801




     215.       A Randomized Trial Comparing Two Doses of TXA to Placebo in
        Patients with Moderate to Severe Traumatic Brain Injury. Royal London Hospital
        Trauma Masters Course. London, England. September 2019.

     216.     The History of Blood Transfusion: Where Have We Been and Where are
        We Going? John Ryan Lectureship, Virginia Mason Hospital. Seattle,
        Washington. September 2019.

     217.      Whole Blood Transfusion in Trauma. Mae Fae Yung University. Chiang
        Rai Thailand. November 2019.

     218.      Blood Transfusion, Where Have We Been and Where are We Going.
        Royal Perth University Grand Rounds. Perth, Australia. November 2019

     219.      Stem Cells in Trauma. Western Australia Trauma Symposium. Perth,
        Australia. Perth Australia. November 2019.

     220.     Tranexamic Acid for Traumatic Brain Injury. Western Australia Trauma
        Symosium. Perth, Australia. November 2019.

     221.     Stem Cells in Trauma. 12th Annual Founders’ Basic Science Lecture.
        Western Trauma Association. Sun Valley, Idaho February 2020.

     222.      Stem Cells in Trauma, the Dawn of a New Era. 3rd Annual Kenneth L.
        Mattox Annual Lecture. Baylor College of Medicine. Houston, TX February
        2021.
     223.      Adjuncts to Massive Transfusion. Shock Society. Toronto, Canada May
        2022.
     224.      Tranexamic Acid for Traumatic Brain Injury. Chichely Hall, England.
        July 2022.


  SECTION EDITOR

        1. Batig TS, Batig AL. Obstetric Trauma and Surgical Emergencies in the
           Military Operational Environment. Curr Trauma Rep. 2018; 4:1-8.

        2. Bhattacharya, B., Pei, K., Lui, F. et al. Caring for the Geriatric Combat
           Veteran at the Veteran Affairs Hospital. Curr Trauma Rep 2017; 3: 62-68.

        3. Eastridge BJ. Injuries to the Abdomen from Explosion. Curr Trauma Rep.
           2017; 3: 69-74.

        4. Plackett TP. Performance Improvement in Combat Casualty CareCurr Trauma
           Rep. 2018; 4: 71-76.

                                           88
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 103 of 107 PageID #:802




        5. Kuckelman J, Cuadrado D, Martin M. Thoracic Trauma: a Combat and
           Military Perspective.Curr Trauma Rep. 2018; 4: 77-87.

        6. Kuckelman J, Derickson M, Long, WB, et al. MASCAL Management from
           Baghdad to Boston: Top Ten Lessons Learned from Modern Military and
           Civilian MASCAL Events. Curr Trauma Rep. 2018; 4: 138

        7. Gurney JM, Holcomb JB. Blood Transfusion from the Military’s Standpoint:
           Making Last Century’s Standard Possible Today. Curr Trauma Rep. 2017; 3:
           144-155.

        8. Walker P, Bozzay J, Bell R, et al. Traumatic Brain Injury in Combat
           Casualties.Curr Trauma Rep. 2018; 4: 149-159.

        9. Davis BL, Martin, MJ, Schreiber M. Military Resuscitation: Lessons from
           Recent Battlefield Experience.Curr Trauma Rep. 2017; 3: 156-163.

        10. Mendoza J, Mallari-Ramos P, Thoren K, et al. Interventional Radiology in the
            Combat Environment. Curr Trauma Rep. 2017; 3: 249-256.

        11. Yun HC, Blyth DM, Murray CK. Infectious Complications After Battlefield
            Injuries: Epidemiology, Prevention, and Treatment. Curr Trauma Rep. 2017;
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  TEXTBOOK EDITOR

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                                           89
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 104 of 107 PageID #:803




                        EXHIBIT B
Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 105 of 107 PageID #:804




                                                                                 Department of Surgery
  CASES IN WHICH DR. MARTIN SCHREIBER PARTICIPATED                               Division of Trauma, Critical Care &
                                                                                 Acute Care Surgery
  AS A WITNESS, 2019 - 2023
                                                                                 tel   503.494.4707
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                                                                                 Mail code: L611
  2022                                                                           3181 S.W. Sam Jackson Park Rd.
                                                                                 Portland, OR 97239
  Cutberto Viramontes, et al. v. Cook County, et al                              Martin A. Schreiber, MD, FACS
  Court System: U.S. District Court for the Northern District of Illinois,       COL, MC, USAR
                                                                                 Professor of Surgery
  Eastern Division                                                               Chief, Trauma, Critical Care &
  Case Number: 21 CV 4595                                                        Acute Care Surgery
                                                                                 Director, Donald D. Trunkey Center
                                                                                 for Civilian and Combat Casualty
                                                                                 Care
  Jones v The Regents of the University of California, et al.
  Court System: Superior Court of California, County of Oregon                   schreibm@ohsu.edu

  Case No: 30202201255972CUMMCJC

  Jorge Mata, et al vs Kavita Kalra, et al
  Court System: Circuit Court for Baltimore City - Civil System
  Case No: 24C21000799

  Durst, Lisa, et al. v Dimensions Health Corporation, et al
  Court System: Circuit Court for Prince George's County - Civil System
  Case No: CAL20-12015

  Martin Mendoza v Dignity Health, et al
  Court System: Superior Court of Arizona - Maricopa County
  Case No: CV2021-002097

  Linda Marie Bowen – Provided opinion
  Chaston v. RCH Alexander
  Court System: Multnomah County Circuit Court
  Case No: 19CV01550

  Jackson Memorial Hospital in Miami, FL – Asked by institution to review
  quality of care


  2021

  Fritz – Did not go to trial

  Babcock v. Legacy Emanuel Hospital & Health Center, et al.
  Court System: Multnomah County Circuit Court
  Case No: 21CV20733

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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 106 of 107 PageID #:805




  Bauer v. Norfleet
  Court System: Cook County Circuit Court – Illinois
  Case No: 2017-L-010460

  Williams – Did not go to trial

  Roy Shaw vs. OSF Healthcare System d/b/a St. Francis Medical Center,
  The Peoria Surgical Group, Ltd.
  Court System: Peoria County Court – Illinois
  Case No: 20-L-00171

  Hulda Stebbins vs. OSF Healthcare System, Robin Alley, MD
  Court System: Peoria County Court – Illinois
  Case No: 20-L-00177


  2020
  Miller/Kristina M. Hull (closed case, no official case name available)
  Court System: Clallam District Court II
  Case No: 1A0509632

  Martindale v Indiana University Health, et al
  Court System: US District Court – Southern District of Indiana,
  Indianapolis Division
  Case No: 1:19-cv-00513-RLY-DML

  Schiffbauer v OSF Healthcare System, et al
  Court System: Cook County Circuit Court – Illinois
  Case No: 2020L001298

  John Sandstrom v Salem Health et al
  Court System: Multnomah County Circuit Court
  Case No: 19CV02923

  Kelly White v Providence Health & Services – Oregon; et al
  Court System: Multnomah County Circuit Court
  Case No: 18CV19321

  Nadrau v Bax MD
  Court System: Spokane County Superior Court
  Case No: 17-2-02562-8




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Case: 1:22-cv-04774 Document #: 45-8 Filed: 01/19/23 Page 107 of 107 PageID #:806




  2019
  Gordon vs Reading Hospital and Medical Center, Wayne C Devos, MD,
  Frank M Carter, MD, Berks Colorectal Surgical Associates
  Court System: Berks County Court of Common Pleas
  Case No: 12-17768

  Welborn vs Sarah Bush Lincoln Health Center, et al
  Court System: Coles County Circuit Court
  Case No: 2016-L-8

  Tatham vs Hualapai Mountain Medical Center LLC, Hualapai Emergency
  Partners PLLC and Bruce K Adams, MD
  Court System: Superior Court of Arizona - Maricopa County
  Case No: CV2012-005215

  Izenberg v. Scottsdale Hospital, et al
  Court System: Superior Court of Arizona - Maricopa County
  Case No: CV2010-000915

  Vasily Kobel vs. City of Portland, James Botaitis, Steven Wuthrich, and
  DOES 1-10
  Court System: United States District Court for the District of Oregon
  Case No: CV-08-986-KI

  Hale v OSF Healthcare System, et al
  Court System: Peoria County Court – Illinois
  Case No: 17-L-7

  Dametria Hartage vs Mark Zweban, MD and Delaware Cardiovascular
  Associates and Wilmington Hospital/Christiana Care Health Services.
  Court System: Superior Court of the State of Delaware – New Castle
  County
  Case No: N18C-06-005-CEB

  Barbara Henry v PeaceHealth Southwest Medical Center – Did not go to
  trial
  Knutson v Erdman, et al
  Court System: Superior Court of Washington – Kittitas County
  Case No: 18-2-00115-6

  Sharp v. OSF Healthcare System, et al
  Court System: Peoria County Court – Illinois
  Case No: 17-L-316


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